
948 So.2d 128 (2007)
Gerald W. GREER
v.
STATE of Louisiana, through the DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT, et al.
No. 2006-C-2650.
Supreme Court of Louisiana.
January 8, 2007.
In re Transportation and Development Department of; Louisiana State of et al.;Defendant(s); Applying for Writ of Certiorari and/or Review, Parish of Allen, 33th Judicial District Court Div. B, No. C-2002-291; to the Court of Appeal, Third Circuit, No. 06-417.
Denied.
VICTORY, J., would grant.
TRAYLOR, J., would grant.
